      Case 1-16-40104-nhl         Doc 39     Filed 06/17/16      Entered 06/17/16 09:58:36




                                                                       JJune 17, 2016

VIA ECF
      F

United States Bankru uptcy Court
Eastern District
        D        of New York
Conrad B.
        B Duberstein  n U.S. Bank
                                kruptcy Courrthouse
271-C Caadman Plazaa East
Brooklynn, NY 11201  1-1800

Re: In ree Aixa Muirr (the “Debttor”),
    Casee No.: 16-40
                   0104 (NHL)

Dear Jud
       dge Lord:

        This
        T office reepresents Ocwen Loan Servicing, LL     LC (“Ocwenn”), as serviccer in this losss
mitigatio
        on proceedin
                   ng. Ocwen haas confirmed   d that the Debtor’s loann modificatioon applicatioon
is compllete and noo additional documentaation is beinng requesteed. Ocwenn is currentlly
reviewing the Debtorr for all available loss mitigation
                                             m          opttions.

       Thank
       T     you fo
                  or your time and attention
                                           n.

                                                       Resppectfully subbmitted,

                                                       LEO
                                                         OPOLD & A
                                                                 ASSOCIATE
                                                                         ES, PLLC

                                                       BY: /s/ Michaell Rozea
                                                       For the Firm

Cc: Kivaa James, Esq. (Via ECF))




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